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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

 KARINA LEONARD,

         Plaintiff,

 v.

 TREASURE COAST HEALTH COUNCIL, INC.
 d/b/a HEALTH COUNCIL OF SOUTHEAST FLORIDA,
 a Florida not for profit corporation,

       Defendant.
 ____________________________/

                                          COMPLAINT

         COMES NOW Plaintiff, KARINA LEONARD, [herein referred to as “Plaintiff”], by and

 through her undersigned attorney and hereby files this Complaint against Defendant, TREASURE

 COAST HEALTH COUNCIL, INC. d/b/a HEALTH COUNCIL OF SOUTHEAST FLORIDA, a

 not for profit corporations and as grounds therefore alleges as follows:

                           JURISDICTION, PARTIES AND VENUE

 1. This matter in controversy concerns unpaid overtime payments, liquidated damages, and

      attorney’s fees.

 2. This is an action for damages and is brought pursuant to the Fair Labor Standards Act, 29

      U.S.C. § 207 (“FLSA”), for unpaid overtime.

 3. This court has original jurisdiction over this matter insofar as the matter involves a federal

      question, namely violation of 29 U.S.C. §216(b).

 4. Plaintiff, KARINA LEONARD is a resident of Palm Beach County, Florida.




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 5. Defendant, TREASURE COAST HEALTH COUNCIL, INC. d/b/a HEALTH COUNCIL OF

    SOUTHEAST FLORIDA has a principal address at 600 Sandtree Drive, 101, Palm Beach

    Gardens, Florida 33403.

 6. This cause of action arose in Palm Beach County.

 7. Palm Beach County, Florida is proper venue for this action because Plaintiff resides in Palm

    Beach County and at all times material hereto, Plaintiff was employed by and had dealings

    with Defendant in Palm Beach County, Florida.

 8. Defendant, failed to pay Plaintiff the mandatory wages as required under state and federal law.

 9. Defendant, at all times material hereto, was an enterprise engaged in interstate commerce or in

    the production of goods for commerce as defined in Section 3(r) and 3(s) of the Act.

                                   COMMON ALLEGATIONS

 10. Plaintiff was hired by Defendant for the position of health planner on or about May 22, 2017.

 11. On or about August 16, 2017, Plaintiff was promoted to the position of program manager

    which was her position up to and including her separation on September 18, 2018.

 12. As the program manager, Plaintiff’s did not have primary duty of supervising or managing

    such that she was a non exempt employee who worked much of her tenure under a

    supervisor.

 13. Plaintiff’s responsibilities included completing reports, data entry, assisting with planning

    events under strict guidance of her supervisor.

 14. Plaintiff’s position with Defendant did not allow for Plaintiff to exercise discretion or

    judgment necessary to be an exempt employee.




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 15. Plaintiff regularly worked over forty (40) hours in a given work week.

 16. Defendant failed to pay Plaintiff the mandatory wages as required under state and federal

    law.

 17. Defendant failed to pay Plaintiff overtime as required by Federal law.

 18. Plaintiff is a non-exempt employee under the FLSA.

 19. Plaintiff was not paid time and one half his hourly rate for hours worked over forty (40) in a

    work week.

 20. Plaintiff’s job duties were such that she herself was individually engaged in commerce.

                                 COUNT I
                            UNPAID OVERTIME
        IN VIOLATION OF THE FAIR LABOR STANDARDS ACT 29 U.S.C. §207

        Plaintiff re-alleges Paragraphs 1 through 20 as set forth herein.

 21. Plaintiff is a covered, non-exempt employee and is entitled to overtime compensation for all

    hours worked in excess of forty (40) hours per week.

 22. Plaintiff worked in excess of forty (40) hours per week for several of the work weeks she was

    employed with the Defendant.

 23. Plaintiff worked in excess of forty (40) hours per week without being compensated for any

    overtime benefits by the Defendants.

 24. Defendant, failed to compensate Plaintiff up to one and a half times her hourly rate for all

    worked performed in excess of forty (40) hours.

 25. The Defendant’s failure to properly compensate Plaintiff is in violation of the Fair Labor

    Standards Act, pursuant to 29 U.S.C. §207. Plaintiff is aware of hours for which she was not

    compensated in the preceding period of time.

 26. Defendant’s failure to pay Plaintiff overtime was the result of intentional, willful misconduct,


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    such that Plaintiff is entitled to overtime payments for the entire preceding period.

 27. As a direct and proximate result of the Defendant’s actions, Plaintiff has obtained counsel to

    represent her in this action and has agreed to incur reasonable attorney’s fees and costs for

    the prosecution of this matter. As a result, Plaintiff is entitled to reimbursement and/or an

    award of reasonable attorney’s fees and costs pursuant to 29 U.S.C. §216.

 28. As a direct and proximate result of the Defendant’s actions, Plaintiff has suffered damages.

 29. As a result of Defendant’s conduct, Plaintiff is entitled to unpaid wages for overtime,

    liquidated damages and other penalties.

    WHEREFORE, Plaintiff prays that judgment be entered in her favor and against the Defendant

 as follows: The Plaintiff be awarded general and compensatory damages, liquidated damages,

 prejudgment interest; that Plaintiff be awarded reasonable attorneys’ fees and costs of suit pursuant

 to 29 U.S.C.A. §216; and that Plaintiff be awarded other and further relief as the Court deems just

 and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a jury on all issues so triable.



 Dated this 8th day of August 2019.

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